        Case 1:18-cv-01853-EGS Document 111 Filed 01/04/19 Page 1 of 4



                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                         )
 GRACE, et al.                           )
                                         )
               Plaintiffs,               )
                                         )
 v.                                      )    Civil Action No. 1:18-cv-01853-EGS
                                         )
 MATTHEW G. WHITAKER, in his             )
 Official capacity as Acting Attorney    )
 General of the United States, et al.,   )
                                         )
               Defendants.               )
                                         )

                              DEFENDANTS’ STATUS UPDATE

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                                             WILLIAM C. PEACHY
                                             Director

                                             EREZ REUVENI
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                                             Trial Attorneys

Dated: January 4, 2019                       Attorneys for Defendants
         Case 1:18-cv-01853-EGS Document 111 Filed 01/04/19 Page 2 of 4



                             DEFENDANTS’ STATUS UPDATE

       Defendants respectfully submit this status update, consistent with the Court’s order that

Defendants “file a status report detailing the steps they have taken to comply with” paragraph 5 of

permanent injunction order by January 4, 2019. December 28, 2018 Minute Order.

       Since the Court’s order, counsel for Plaintiffs and Defendants have continued to confer by

phone and email to work out the logistics of returning the removed Plaintiffs to the United States.

Officers for Immigration and Customs Enforcement (“ICE”) have reached out to the points of

contact provided for each removed Plaintiff to establish lines of communication that will be used

to communicate timing and logistics to individual Plaintiffs. Defendants have also determined that

the removed Plaintiffs will return to the United States by way of repatriation flights by ICE Air

when those flights return to the United States from Honduras and El Salvador. Defendants expect

to facilitate their return within two weeks of today. Plaintiffs’ counsel agree to this method of

return and proposed timeline.

       Counsel for both parties continue to discuss additional details concerning the processing of

the removed Plaintiffs once they are returned to U.S. soil. Defendants will provide an additional

status update to the Court regarding those discussions by Friday, January 11, 2019.

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        Case 1:18-cv-01853-EGS Document 111 Filed 01/04/19 Page 3 of 4



                                          Respectfully submitted,

                                          JOSEPH H. HUNT
                                          Assistant Attorney General

                                          WILLIAM C. PEACHY
                                          Director

                                          EREZ REUVENI
                                          Assistant Director

                                    By:   /s/ Christina P. Greer
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Dated: January 4, 2019                    Attorneys for Defendants




                                      2
        Case 1:18-cv-01853-EGS Document 111 Filed 01/04/19 Page 4 of 4



                                CERTIFICATE OF SERVICE

       I hereby certify that on January 4, 2019, I electronically filed the foregoing document with

the Clerk of the Court for the United States District Court for the District of Columbia by using

the CM/ECF system. Counsel in the case are registered CM/ECF users and service will be

accomplished by the CM/ECF system.


                                             By:    /s/ Christina P. Greer
                                                    CHRISTINA P. GREER
                                                    Trial Attorney
                                                    United States Department of Justice
                                                    Civil Division
